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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION




                                                    Civil Action File No.: 1:21-cv-00135
 In re: Clearview AI, Inc. Consumer Privacy
 Litigation                                         Judge Sharon Johnson Coleman

                                                    Magistrate Judge Maria Valdez



      PROPOSED ORDER ON RESPONSIBILITIES OF DESIGNATED COUNSEL

       The Court having appointed the law firm of Loevy & Loevy as interim lead counsel of

this multidistrict litigation, hereby orders as follows regarding the responsibilities of Plaintiffs’

counsel1 in this matter:

       1.      Plaintiffs’ interim lead counsel. Plaintiffs’ interim lead counsel shall be generally

               responsible for coordinating the activities of the putative plaintiff class during

               pretrial proceedings and shall:

               (a)     determine (after such consultation with other Plaintiffs’ counsel as may be

                       appropriate) and present (in briefs, oral argument, or such other fashion as

                       may be appropriate, personally or by a designee) to the court and opposing

                       parties the position of the plaintiffs on all matters arising during pretrial

                       proceedings;



1 Plaintiffs’ counsel are identified as follows: Jonathan Loevy, Michael Kanovitz and Thomas
Hanson of Loevy & Loevy; Scott Drury of Drury Legal; Scott Bursor and Joshua Arisohn of
Bursor & Fisher, P.A.; Frank Hedin of Hedin Hall LLP; Michael Drew of Neighborhood Legal
LLC; Michael Wood and Celetha Chatman of Community Lawyers LLC; and Steven Webster
and Aaron Book of Webster Book LLP.
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          (b)    coordinate the conduct of discovery on behalf of plaintiffs consistent with

                 the requirements of Fed. R. Civ. P. 26(b)(1), 26(2), and 26(g), including

                 the preparation of joint interrogatories, and requests for production of

                 documents and the examination of witnesses in depositions;

          (c)    conduct settlement negotiations on behalf of plaintiffs, but not enter

                 binding agreements except to the extent expressly authorized;

          (d)    delegate specific tasks to other counsel in a manner to ensure that pretrial

                 preparation for plaintiffs is conducted efficiently and effectively;

          (e)    enter into stipulations with opposing counsel as necessary for the conduct

                 of the litigation;

          (f)    prepare and distribute periodic status reports to the parties;

          (g)    maintain adequate time and disbursement records covering services as

                 interim lead counsel;

          (h)    monitor the activities of co-counsel to ensure that schedules are met and

                 unnecessary expenditures of time and funds are avoided; and

          (i)    perform such other duties as may be incidental to proper coordination of

                 plaintiffs’ pretrial activities or authorized by further order of the court.

    2.    All Plaintiffs’ Counsel. All Plaintiffs’ counsel, except to the extent they have a

          disagreement with Interim Lead Counsel as described in paragraph 4 of this

          Order, shall cooperate with Interim Lead Counsel and other Plaintiffs’ counsel in

          the prosecution of this matter, and shall

          (a)    Complete such tasks as they are assigned (if such assignment is accepted)

                 efficiently and effectively;




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             (b)     Maintain adequate time and disbursement records covering services

                     rendered in this matter;

             (c)     Provide to all Plaintiffs’ counsel their time records in this matter on a

                     schedule to be determined by interim lead counsel to include time records

                     while with counsel’s current firm or with a former firm;

             (d)     Share with one another knowledge and insight gained in the course of

                     rendering services in this matter.

      3.     Liaison Counsel, Steering Committee and Subcommittees. Interim lead counsel

             and counsel for the named plaintiffs have not proposed liaison counsel, a steering

             committee or subcommittees, and the Court does not appoint such counsel or

             create such committees at this time.

      4.     Disagreements with Interim Lead Counsel. Counsel for plaintiffs who disagree

             with interim lead counsel (or those acting on behalf of interim lead counsel) or

             who have individual or divergent positions may present written and oral

             argument, conduct examinations of deponents, and otherwise act separately on

             behalf of their clients as appropriate, provided that in doing so they do not repeat

             arguments, questions or actions of interim lead counsel.

      5.     Privileges Preserved. No communication among plaintiffs’ counsel shall be taken

             as a waiver of any privilege or protection to which they would otherwise be

             entitled.




Dated: ______________, 2022                         ___________________________________
                                                    UNITED STATES DISTRICT JUDGE



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Approved as to form and content:

By: /s/ Jon Loevy                            By: /s/ Frank Hedin
    JON LOEVY                                    FRANK HEDIN

    Plaintiffs’ interim lead class counsel       Counsel for Other Plaintiffs


                                             By: /s/ Joshua Arisohn
                                                 JOSHUA ARISOHN
By: /s/ Michael Drew
    MICHAEL DREW                                 Counsel for Other Plaintiffs

    Counsel for Other Plaintiffs
                                             By: /s/ Michael Wood
                                                 MICHAEL WOOD

                                                 Counsel for Other Plaintiffs


By: /s/ Steven Webster
    STEVEN WEBSTER

Counsel for Other Plaintiffs




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